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1
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2    Samir Dizdarevic-Miller, ISB #11471
3    ETTER, McMAHON, LAMBERSON,
4    VAN WERT & ORESKOVICH, P.C.
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6
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7    Fax:    509-623-1439
8    Email: awagley@ettermcmahon.com
9    Email: samir@ettermcmahon.com
10   Attorneys for Plaintiff Cody J. Schueler
11
                         UNITED STATES DISTRICT COURT
12                   DISTRICT OF IDAHO (NORTHERN DIVISION)
13
14   CODY J. SCHUELER, an individual,
15
16
                         Plaintiff,             Case No. 2:22-cv-00389-DCN
17
          v.
18                                              MEMORANDUM IN SUPPORT
19   FOUR SQUAREBIZ, LLC, a                     OF MOTION FOR DEFAULT—
20   Wyoming limited liability company,         DEFENDANT FOUR
21
     KEITH O. CREWS, an individual and          SQUAREBIZ, LLC
     the associated marital community,
22
     MICAH EIGLER, an individual and
23   the associated marital community, and
24   JOHN AND JANE DOES 1-10,
25
26                       Defendants.
27
28
          COMES NOW, Plaintiff CODY J. SCHUELER, by and through his
29
30   attorneys of record, Andrew M. Wagley and Samir Dizdarevic-Miller of Etter,
31
32
     McMahon, Lamberson, Van Wert & Oreskovich, P.C., and hereby respectfully


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1
     submits the following Memorandum in Support of Plaintiff’s Motion for Default
2
3    against Defendant Four SquareBiz, LLC (hereinafter “Four SquareBiz”).
4
5
                                         BACKGROUND
6
          This is a commercial lawsuit stemming from the breach of three Bitcoin
7
8    Loan Agreements executed by Defendants Four SquareBiz, LLC, Keith Crews,
9
10   and Micah Eigler, along with accompanying Personal Guarantees. (See ECF
11
     No. 1.) Plaintiff Cody J. Schueler initiated this lawsuit via a Complaint filed on
12
13   September 12, 2022. (See id.) Defendant Four SquareBiz was served via its
14
15   registered agent on September 28, 2022. (See ECF No. 7.) The Agreements that
16
     form the crux of this lawsuit expressly provide:
17
18         6. Governing Law. This Agreement is governed by the laws of the
19         State of Idaho, and any questions arising hereunder shall be
20         construed or determined in accordance with such law. The venue
21
           for any lawsuit filed by either party related to the terms of this
           agreement shall be located exclusively in the federal courts of the
22
           state of Idaho, U.S.A.
23
24   (See ECF No. 1 at 23, 41, 53, 64, and 74; ECF No. 1-2 at 4, 22, 34, 45, and 55.)
25
26        To date, Defendant Four SquareBiz has not formally appeared, filed an
27
     Answer, or otherwise attempted to defend this litigation. (See Decl. of Andrew
28
29   M. Wagley in Supp. of Mot. for Default (“Wagley Decl.”).) On December 2,
30
31
32


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1
     2022, counsel for Plaintiff emailed Defendant Keith Crews, the purported
2
3    Chairman of Four SquareBiz, indicating:
4
5
           It is still not clear whether you anticipate participating on behalf of
           yourself only or both you and Four SquareBiz. Please clarify.
6
           Also, we anticipate moving for a default soon if you do not
7          formally appear and participate in the litigation. As discussed
8          multiple times before, a lot of money is on the line and it is
9          advisable that you obtain an attorney.
10
     (Wagley Decl., Ex. B at p. 1.)         Plaintiff now moves for default against
11
12   Defendant Four SquareBiz.
13
14                                POINTS & AUTHORITIES
15
16
          “When a party against whom a judgment for affirmative relief is sought has
17
     failed to plead or otherwise defend, and that failure is shown by affidavit or
18
19   otherwise, the clerk must enter the party's default.” Fed. R. Civ. P. 55(a). The
20
21
     two-step process in Federal Court requires the movant to obtain an order of
22
     default prior to seeking a default judgment. See, e.g., Gargoyle Granite &
23
24   Marble, Inc. v. Opustone, LLC, 2021 WL 5999133, at *2 (D. Idaho 2021) (“The
25
26   process of obtaining a default judgment in federal court involves two steps.”) 1.
27
     For policy purposes, “the possibility of being held in default acts as a deterrent
28
29   to those parties resorting to delay as an element of their litigation strategy.” 10A
30
31
32


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1
     FED. PRAC. & PROC. CIV. § 2681 (Westlaw database updated April 2022).
2
3    Furthermore, where “the defendant fails to answer the plaintiff’s complaint, ‘a
4
5
     decision on the merits [is] impractical, if not impossible.’” Edelbrock LLC v.
6
     Genesis Grp. Int'l (USA), Inc., 119 F. Supp. 3d 1168, 1176 (C.D. Cal. 2015)
7
8    (alterations in original) (quoting PepsiCo, Inc. v. California Sec. Cans, 238 F.
9
10   Supp. 2d 1172, 1176 (C.D. Cal. 2002)).
11
            A defaulting defendant must be properly served prior to entry of a default.
12
13   See, e.g., Edelbrock LLC, 119 F. Supp. 3d at 1173. Pursuant to Fed. R. Civ. P.
14
15   4, a corporation “must be served . . . in a judicial district of the United States [in
16
     the same manner as an individual]” or “by delivering a copy of the summons
17
18   and of the complaint to an officer, a managing or general agent, or any other
19
20   agent authorized by appointment or by law to receive service of process.” Fed.
21
     R. Civ. P. 4(h)(1)(A), (B). In turn, “[s]erving a summons . . . establishes
22
23   personal jurisdiction over a defendant . . . who is subject to the jurisdiction of a
24
25   court of general jurisdiction in the state where the district court is located.” Fed.
26
     R. Civ. P. 4(k)(1)(A).
27
28
29
30
31   1
        Unpublished, out-of-jurisdiction, and secondary sources offered for
32
     nonbinding, persuasive purposes only.

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1
          Idaho’s long arm statute (I.C. § 5-514) provides that a defendant, “whether
2
3    or not a citizen or resident of this state,” subjects itself “to the jurisdiction of the
4
5
     courts of this state” by “[t]he transaction of any business within this state” or
6
     “[t]he commission of a tortious act within this state.” I.C. § 5-514(a), (b).
7
8    Similarly, pursuant to Idaho law:
9
10         Service of process upon any such person, firm, company,
           association or corporation who is subject to the jurisdiction of the
11
           courts of this state, as provided herein, may be made by personally
12         serving the summons upon the defendant outside the state with the
13         same force and effect as though summons had been personally
14         served within this state.
15
16
     I.C. § 5-515; accord State of Idaho v. M.A. Hanna Co., 819 F. Supp. 1464, 1474
17
     (D. Idaho 1993) (“Idaho Code § 5–515 provides that service may be made upon
18
19   any entity subject to jurisdiction of the courts of the State of Idaho.”).
20
21
          In order to be in default, the Court must also have personal jurisdiction
22
     over the defaulting defendant. See, e.g., King v. Russell, 963 F.2d 1301,1305
23
24   (9th Cir. 1992). “In determining whether personal jurisdiction exists over a
25
26   nonresident defendant, plaintiffs must establish that 1) the long-arm status of the
27
     forum confers personal jurisdiction over the nonresident defendant, and 2) that
28
29   the exercise of jurisdiction conforms with constitutional principles of due
30
31   process.” M.A. Hanna Co., 819 F. Supp. at 1474. In addition to Idaho’s long
32


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1
     arm statute (I.C. § 5-514), due process requirements for personal jurisdiction are
2
3    satisfied based upon forum selection clauses that “have been obtained through
4
5
     ‘freely negotiated’ agreements and are not ‘unreasonable and unjust.’” Dow
6
     Chem. Co. v. Calderon, 422 F.3d 827, 831 (9th Cir. 2005) (quoting Burger King
7
8    Corp. v. Rudzewicz, 471 U.S. 462, 472 n. 14 (1985)); accord Chan v. Soc'y
9
10   Expeditions, Inc., 39 F.3d 1398, 1406 (9th Cir. 1994) (“a forum selection clause
11
     alone could confer personal jurisdiction”). Here, the parties entered into a forum
12
13   selection clause that expressly provides: “The venue for any lawsuit filed by
14
15   either party related to the terms of this agreement shall be located exclusively
16
     in the federal courts of the state of Idaho, U.S.A.” (See, e.g., ECF No. 1 at 23.)
17
18        Following proper service and personal jurisdiction, default is warranted if
19
20   the defendant fails to “plead or otherwise defend.” Fed. R. Civ. P. 55(a). A
21
     defendant fails to “plead or otherwise defend” if the defendant does not respond
22
23   to the Complaint by the appropriate deadline or show some intent to defend the
24
25   allegations in Court. See Carpenters Labor-Mgmt. Pension Fund v. Freeman-
26
     Carder LLC, 498 F. Supp. 2d 237, 241 (D. D.C. 2007) (“The defendant . . .
27
28   failed to respond by the deadline and has not otherwise taken any action
29
30   indicating an intent to defend itself in this matter.”); accord McMahan v. CCC
31
32


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1
     Express Corp., 153 F.R.D. 633, 634 (N.D. Ind. 1994) (informal agreement “for
2
3    an indefinite extension” of time to respond to lawsuit insufficient).
4
5
          In the situation at hand, default is appropriate against Defendant Four
6
     SquareBiz.     First, Defendant Four SquareBiz was properly served with the
7
8    Summons and Complaint on September 28, 2022. (See ECF No. 7) Second, the
9
10   Court has personal jurisdiction pursuant to the above-referenced forum selection
11
     clause. (See, e.g., ECF No. 1 at 23.) Third, Defendant Four SquareBiz has
12
13   failed to respond to the lawsuit, despite multiple opportunities. (See Wagley
14
15   Decl., Ex. B.) Fourth and finally, Defendant Four SquareBiz has been provided
16
     notice of this Motion for Default, whether or not required by law.
17
18        Defendant Four SquareBiz has stalled this litigation, despite being properly
19
20   served approximately 92 days ago. An Order of Default is warranted by law so
21
     Plaintiff may subsequently obtain a default judgment. Fed. R. Civ. P. 55(a).
22
23                                       CONCLUSION
24
25        Plaintiff respectfully requests that the Court grant this Motion for Default.
26
          RESPECTFULLY SUBMITTED this 29th day of December, 2022.
27
28
29                                          By: /s/ Andrew M. Wagley
30                                             Andrew M. Wagley, ISB #10277
31                                             Samir Dizdarevic-Miller, ISB #11471
32
                                               Attorneys for Plaintiff Cody J. Schueler


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1
                                CERTIFICATE OF SERVICE
2
3         The undersigned certifies, under penalty of perjury of the laws of the
4
5
     United States, that on the date given below, I caused to be served in the manner
6
     noted copies of the foregoing document upon the following parties:
7
8       Keith Crews                                    U.S. Mail
9       okcrews@yahoo.com                              Facsimile
10      1503 Scenic Overlook Court                     E-Mail
        Kennesaw, GA 30152                             Via Hand Delivery
11
12
        Micah Eigler
13      eigler1@gmail.com                              U.S. Mail
14      6208 Enfield Avenue                            Facsimile
15      Los Angeles, CA 91316                          E-Mail
16      PO Box 9042                                    Via Hand Delivery
17
        Calabasas, CA 91372
18
        Four SquareBiz, LLC
19                                                     U.S. Mail
        okcrews@4squarebiz.com
                                                       Facsimile
20      C/o Registered Agents Inc.
                                                       E-Mail
21      30 North Gould Street, Suite R
        Sheridan, WY 82801                             Via Hand Delivery
22
23
24        EXECUTED this 29th day of December, 2022 in Spokane, Washington.
25
26
27                                       By:/s/ Jodi Dineen
                                            Jodi Dineen
28
29
30
31
32


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